USCA4 Appeal: 21-2040    Doc: 1        Filed: 09/22/2021    Pg: 1 of 2




                                                               FILED: September 22, 2021


                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                      ___________________

                                           No. 21-2040
                                       (5:15-cv-00627-BO)
                                      ___________________

        FREDERICK L. ALLEN; NAUTILUS PRODUCTIONS, LLC

                     Plaintiffs - Appellees

        v.

        ROY A. COOPER, III, Governor of North Carolina; KEVIN CHERRY, Deputy
        Secretary of the North Carolina Department of Natural and Cultural Resources,
        individually and in his official capacity; KARIN COCHRAN, Chief Deputy
        Secretary of the North Carolina Department of Natural and Cultural Resources,
        individually and in her official capacity; CARY COX, Assistant Secretary,
        Marketing and Communications of the North Carolina Department of Natural and
        Cultural Resources, individually and in her official capacity; SUSAN WEAR
        KLUTTZ, Secretary of the North Carolina Department of Natural and Cultural
        Resources, individually and in her official capacity; STEPHEN R. CLAGGETT,
        a/k/a Steve Claggett, State Archaeologist, individually and in his official capacity;
        JOHN W. MORRIS, a/k/a Billy Ray Morris, Deputy State Archaeologist -
        Underwater and Director of Underwater Archaeology Branch of the North
        Carolina Department of Natural and Cultural Resources, individually and in his
        official capacity; NORTH CAROLINA DEPARTMENT OF NATURAL AND
        CULTURAL RESOURCES; STATE OF NORTH CAROLINA

                     Defendants - Appellants




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        This case has been opened on appeal.

        Originating Court    United States District Court for the Eastern District of
                             North Carolina at Raleigh
        Originating Case     5:15-cv-00627-BO
        Number
        Date notice of       09/20/2021
        appeal filed in
        originating court:
        Appellant(s)         Roy A. Cooper, III; Kevin Cherry; Karin Cochran, Cary
                             Cox; Susan Wear Kluttz, Stephen R. Claggett; John W.
                             Morris; North Carolina Department of Natural and
                             Cultural Resources; State of North Carolina
        Appellate Case       21-2040
        Number
        Case Manager         Cathy Poulsen
                             804-916-2704




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